       Case 1:15-cv-03928-TCB Document 177 Filed 02/28/20 Page 1 of 4




                    IN THE UNITED STATES DISCTRICT COURT
                    FOR THE NORTHERN DISTRIT OF GEORGIA
                              ATLANTA DIVISION

CAROLYN GIUMMO and                     )
ANTHONY HILL, SR.,                     )
                                       )
      Plaintiffs,                      )
                                       )      Civil Action
v.                                     )      File No. 1:15-cv-3928-TCB
                                       )
ROBERT OLSEN,                          )
                                       )
      Defendants,                      )

                     JOINT STIPULATION OF VOLUNTARY
                       DISMISSAL WITHOUT PREJUDICE

      Plaintiffs and Defendant hereby stipulate to the voluntary dismissal of this

action without prejudice under Federal Rule of Civil Procedure 41(a)(1)(A)(ii).

Each party will bear their own attorney’s fees and costs.1

      Respectfully submitted this 28th day of February, 2020.




                         [signatures on the following page]




1
      Former Defendant DeKalb County, Georgia, was dismissed by Court Order
on June 4, 2019. Doc. 176, at pp. 31-32. All remaining parties join this stipulation.
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/s/ Maxwell K. Thelen                 /s/ Amanda R. Clark Palmer

J. Darren Summerville                 (by express permission to MKT)
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       Case 1:15-cv-03928-TCB Document 177 Filed 02/28/20 Page 3 of 4




             CERTIFICATE OF SERVICE AND COMPLIANCE

      I hereby certify that I electronically filed the foregoing document with the

Clerk of Court using the CM/ECF system (which document was prepared in Times

New Roman font, 14-point type, one of the font and point selections approved by

the Court in N.D. Ga L.R. 5.1(c)), which will automatically send e-mail

notification of such filing to the following opposing counsel of record:

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      This 28th day of February, 2020
Case 1:15-cv-03928-TCB Document 177 Filed 02/28/20 Page 4 of 4




                            THE SUMMERVILLE FIRM, LLC

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